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                          UNITED STATES BANKRUPTCY COURT
                           FOR THE DISTRICT OF DELAWARE


    In re:                                                      Chapter 11

    TPC GROUP INC., et al.,1                                    Case No. 22-10493 (CTG)

                           Debtors.                             Jointly Administered

    BAYSIDE CAPITAL, INC. and CERBERUS
    CAPITAL MANAGEMENT, L.P.,
                                                                Adv. Pro. No. 22-______ (CTG)

                          Plaintiffs,

             v.

    TPC GROUP INC.,

                         Defendant.

                      COMPLAINT FOR DECLARATORY JUDGMENT




                         FILED UNDER SEAL




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  The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax
identification number, are: TPC Group Inc. (3618); TPC Holdings, Inc. (7380); TPC Group LLC (8313);
Texas Butylene Chemical Corporation (7440); Texas Olefins Domestic International Sales Corporation
(4241); TPC Phoenix Fuels LLC (9133); Port Neches Fuels, LLC (1641); and TP Capital Corp. (6248).
Each Debtor’s corporate headquarters and mailing address is 500 Dallas St., Suite 2000, Houston, Texas
77002.


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